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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAI‘I

COREY KAHALEWAI,                        CIVIL NO. 24-00323 JAO-RT

            Plaintiff,                  DEFENDANT’S MEMORANDUM IN
                                        OPPOSITION TO PLAINTIFF’S
      v.                                MOTION FOR PRELIMINARY
                                        INJUNCTION [ECF NO. 2];
CITY AND COUNTY OF                      CERTIFICATE OF WORD COUNT;
HONOLULU,                               DECLARATION OF CARLENE LAU;
                                        DECLARATION OF DANIEL M.
            Defendant.                  GLUCK; EXHIBITS 1-2 AND 7-8

                                        Hearing
                                        Date: Thursday, September 5, 2024
                                        Time: 9:00 a.m.
                                        Judge: Hon. Jill A. Otake

                                        No trial date set.
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           MEMORANDUM IN OPPOSITION TO MOTION FOR
                  PRELIMINARY INJUNCTION


I.    INTRODUCTION

      Plaintiff Corey Kahalewai already sued the City and County of Honolulu

(City) on the same set of facts alleged here. He already released all claims that

were brought, or could have been brought, in that earlier case. In the current

lawsuit, Kahalewai challenges the denial of his application for a License to Carry a

concealed firearm in public (License), and he alleges that the Rules of the

Honolulu Chief of Police are unconstitutional both facially and as applied. He

already brought – and released – these claims in an earlier lawsuit. This Court can

(and should) end its analysis there: Kahalewai cannot win on the merits of his

claims, and his motion for a preliminary injunction should be denied.1

      Even if this Court were to consider Kahalewai’s claims, however, he is still

unlikely to win on the merits. Kahalewai was subject to restraining orders – issued

by two different Hawai‘i state judges – for approximately four of the seven years

preceding his License application. Specifically, “from 2016 to 2019, [he was] the

respondent to an injunction against harassment issued by the State of Hawaii for

the same woman [he is] suspected of sexually assaulting [in 2016].” ECF 1-3 (Ex.



1
  The City intends to file a motion for summary judgment – containing the same
arguments regarding Kahalewai’s previous release of his claims – the day after
filing this Memorandum.

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3 to Plaintiff’s Complaint). Further, “[f]rom 2019 to 2020, [he was] a respondent

to an order of protection issued for a different individual who was [his] intimate

partner at the time.” Id. In that case, the presiding judge found that “a protective

order is necessary to prevent domestic abuse or a recurrence of abuse.” Gluck

Decl., Ex. 8.

      In the face of these restraining orders, Kahalewai asked the Honolulu Police

Department (HPD) for a License to carry a firearm in public. HPD rightly said

“no.” HPD carried out its necessary – and constitutional – mission of protecting

the public from persons who lack the temperament necessary to carry concealed,

deadly weapons in public.

      The Supreme Court has been clear that the Second Amendment right is not

limitless. Kahalewai is precisely the type of person whose License application can

and should be denied. Neither the facts nor the law supports his arguments.

II.   BACKGROUND

      A.        Kahalewai’s earlier lawsuit (Nelson v. Honolulu City & County)

      On March 1, 2024, Kahalewai – along with two individuals and an

organization – sued the City in this Court. Nelson et al. v. Honolulu City and

County, Civ. No. 1:24-CV-00100 MWJS-RT (D. Haw. 2024) (ECF No. 1)

(hereinafter, Nelson Complaint, attached as Gluck Decl., Ex. 1). The allegations

and the operative facts in the Nelson case and this case are nearly identical. Below



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are some of the allegations in the Nelson Complaint and this case (hereinafter,

Kahalewai Complaint, ECF 1):

          Nelson Complaint                            Kahalewai Complaint
             (at PDF 61)                                  (at PDF 26)

70. Plaintiff Kahalewai applied for           66.    Plaintiff Kahalewai applied
a CCW in or about the month of May            for a CCW by submitting all
2023 and submitted all necessary              necessary paperwork to County on or
documentation;                                about May 2023;

71. Plaintiff Kahalewai was in                67. Plaintiff Kahalewai received a
contact with County in or about the           denial letter on or about March 20,
month of September 2023 and was               2024 . . . ;
informed that a portion of his CCW
application had been misplaced or             68. Plaintiff Kahalewai was in
lost. Plaintiff Kahalewai replaced the        contact with County in or about the
missing documentation at County’s             month of September 2023 and was
request and submitted a second CCW            informed that a portion of his CCW
application in or around September            application had been misplaced or
2023. Plaintiff Kahalewai was                 lost. Plaintiff Kahalewai replaced the
emailed on or about October 6, 2023           missing documentation at County’s
and was informed that his application         request and submitted a second CCW
was being processed.                          application in or around September
                                              2023. Plaintiff Kahalewai was
72. Plaintiff Kahalewai has not               emailed on or about October 6, 2023
received an approval or a denial or           and was informed that his application
any written communication from                was being processed[.]
County regarding his CCW
application since October 2023[.]
                                      Similarly:

          Nelson Complaint                            Kahalewai Complaint
            (at PDF 2 ¶2)                                (at PDF 2, ¶1)
But for the actions challenged in this        But for the actions challenged in this
lawsuit, he would have a (CCW)[.]             lawsuit, he would have a carry
                                              concealed permit, hereinafter
                                              ‘CCW[.]’

                                          3
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                                    Similarly:

          Nelson Complaint                          Kahalewai Complaint
             (at PDF 60)                                (at PDF 25)

64. Plaintiff Kahalewai challenges           60. Plaintiff Kahalewai challenges
County’s custom, policy, rule, or            County’s custom, policy, rule or
practice of unfettered and arbitrary         practice of unfettered and arbitrary
discretion in the issuance of his CCW        discretion in the issuance of his CCW
license[.]                                   license[.]



      At the time Kahalewai filed the Complaint in Nelson in March 2024, he

alleged that his License application had been pending since 2023 and that the City

was unlawfully prohibiting him from carrying a firearm in public. Nelson

Complaint, PDF 61. Kahalewai makes the same claims here:



          Nelson Complaint                           Kahalewai Complaint
          (at PDF 5-6 ¶10)                              (at PDF 5 ¶7)

Defendants [sic] have flat-out denied        Defendant has flat-out denied Plaintiff
Plaintiffs their rights to be armed          his right to be armed outside of his
outside of their homes by establishing       home by establishing an onerous
an onerous permitting regime replete         permitting regime replete with
with subjective and discretionary            subjective and discretionary
decisions, poll tax-like fees, and as        decisions, poll tax-like fees, and as
applicable to this lawsuit, egregious        applicable to this lawsuit,
wait times designed to flout the             discretionary decisions that rely on
Supreme Court’s precedents.                  unconstitutional reasons to deny
                                             applicants their CCW permits and
                                             designed to flout the Supreme Court’s
                                             precedents.




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      B.     Stipulation and release in earlier lawsuit

      Kahalewai and the other plaintiffs in Nelson settled their case with the City;

in so doing, on May 10, 2024, this Court (the Hon. Micah Smith presiding)

approved and ordered a stipulation and stipulated judgment with this release:

             With the exception of Plaintiffs’ claim for attorneys’ fees
             and/or costs, Plaintiffs unconditionally release, acquit,
             and discharge the City and County of Honolulu and all its
             employees and agents from all injuries, claims, damages,
             and causes of action that were brought or could have
             been brought arising from or associated with the facts
             alleged in the instant Lawsuit and the laws, rules, or
             regulations in effect at the time of the execution of this
             Stipulated Judgment. No other claims, other than for
             attorneys’ fees and costs, remain outstanding in this
             litigation.

Stipulation and Stipulated Permanent Injunction in Nelson (ECF No. 25) PDF 9-10

(hereinafter, Nelson Stipulation; attached as Gluck Decl. Ex. 2). In other words, in

the first lawsuit, Kahalewai sued the City because the City had not issued him a

License after he submitted application materials in May and September 2023.

Nelson Complaint, PDF 2, 5-6, 60-61. In the current lawsuit, Kahalewai is suing

the City because the City had not issued him a License after he submitted

application materials in May and September 2023. Kahalewai Complaint, PDF 2,

26. In both cases he attacks the HPD’s allegedly unconstitutional use of discretion

in analyzing his May and September applications. See, e.g., Nelson Complaint,

PDF 5, 57, 60; Kahalewai Complaint, PDF 3, 5, 6, 33.


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      C.     Challenge to HPD’s Rules in both lawsuits

      Kahalewai’s current Complaint alleges that the City’s administrative rules

are unconstitutional, both facially and as applied to him. Kahalewai Complaint,

PDF 25 ¶61. He brought the same claims in the Nelson case. See Nelson

Complaint, PDF 68-69 ¶108-109 (seeking a declaratory judgment that the City’s

“customs, policies, rules and or practices . . . are unconstitutional under the Second

Amendment” or, alternatively, a declaration that the City’s “customs, policies,

rules and or practices are unconstitutional as applied to each Plaintiff” (emphases

added)). Again, Kahalewai released these claims: the City’s administrative rules –

those effective November 2022, and the amended rules effective January 2024 –

were in existence at the time of the Stipulated Judgment (May 10, 2024). See

Nelson Stip. at 9 (releasing all claims “that were brought or could have been

brought arising from or associated with the facts alleged in the instant Lawsuit and

the laws, rules, or regulations in effect at the time of the execution of this

Stipulated Judgment” (emphasis added)); see also ECF 1-1 (2022 Rules); ECF 1-2

(2024 Rules); ECF 1-3, PDF 2 (3/20/24 letter referencing administrative rules).

Less than two months later, Kahalewai released all claims “arising from or

associated with . . . the laws, rules, or regulations in effect at the time of the

execution of this Stipulated Judgment.” Nelson Stip., PDF 9 (emphasis added).




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        D.    HPD’s March 20, 2024 letter

        On March 20, 2024 – after the Nelson Complaint (March 1) but before the

Nelson Stipulation (May 10) – HPD issued a letter to Kahalewai, notifying

Kahalewai that his License application had been denied. ECF 1-3 PDF 2.

Kahalewai apparently believes this letter gives rise to a new lawsuit, but the new

lawsuit makes the exact same claim as the old lawsuit: that the City violated

Kahalewai’s rights by preventing him from carrying a firearm outside his home.

Nelson Complaint, PDF 5-6 ¶10; Kahalewai Complaint, PDF 5 ¶7.

        Even if it were not crystal clear that Kahalewai actually brought the same

claims in both cases, the delay and the denial arose from the same facts:

              [B]oth the alleged delay in processing the License
              application and the denial of the License application were
              based on the same thing: the background check.
              Kahalewai would have been authorized to carry a firearm
              in public no later than December 31, 2023 but for the
              background check.

Declaration of Carlene Lau (Lau Decl.) ¶14. See also id. at ¶8 (“[I]n 2023 we had

decided to recommend that Kahalewai’s application be denied . . . based on the

background items listed above and the then-effective Rules[.]”). Kahalewai’s

application would have been granted – long before the Nelson Complaint was filed

– but for information obtained in a June 2023 background check.2 Lau Decl., ¶12



2
    This information was made public by Kahalewai in ECF 1-3 at PDF 2.

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(“But for the background items, Kahalewai’s License application would have been

approved. That approval likely would have occurred by December 31, 2023.”), id.

¶6 (“On June 8, 2023, Records ran a background check on Kahalewai. That

background check revealed the information that Kahalewai made public in his

court filings, in Docket #1-3 at page 2.”).

      HPD personnel made the determination that Kahalewai did not meet the

Rules’ requirements (both the 2024 rule, § 21-15-19(f), and its 2022 predecessor,

§ 15-23(1)). Lau Decl. ¶¶7-9. That determination was the reason for the delay at

the heart of the Nelson case. Lau Decl. ¶¶11-12. Had Kahalewai not settled the

Nelson case, but instead proceeded with discovery, he could have learned the

reason why his application had been delayed; indeed, he did learn the reasons (via

the March 20 letter) prior to settling Nelson. See id.; ECF 1-3; Kahalewai

Complaint, PDF 26 ¶67; Nelson Stip., PDF 10. Kahalewai’s challenge in this case

“aris[es] from” and is “associated with” the facts alleged in Nelson. Nelson Stip.

PDF 9. He already released these claims.

      E.     Restraining Orders (2016-2019 and 2019-2020)

      In the seven years preceding his application for a License, Kahalewai had

two court-issued restraining orders issued against him. Importantly, these were not

just temporary orders that were issued ex parte: in 2016, a Hawai‘i state court

judge issued a three-year injunction against harassment that barred Kahalewai from


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contact with a woman whom he was suspected of sexually assaulting earlier that

year.3 ECF 1-3; Gluck Decl., Ex. 7. In 2019 – while the first injunction was still in

place – a different state court judge issued a 16-month order of protection against

Kahalewai, for a different woman (his intimate partner at the time). ECF 1-3;

Gluck Decl., Ex. 8. The judge who issued the protective order in 2019 did not

make findings of abuse, but the court records state that Kahalewai “was provided

with all necessary notice and given a full and sufficient opportunity to be heard”

and the court found that “a protective order is necessary to prevent domestic abuse

or a recurrence of abuse.”4 Gluck Decl., Ex. 8 (emphasis added; formatting

altered).

      Kahalewai applied for a License in 2023. ECF 1-3. Thus, for approximately

four of the seven years preceding his application, Kahalewai was subject to a



3
 As the Hawai‘i Supreme Court explained, HRS § 604-10.5 “authorizes the
issuance of an injunction against harassment only when harassment has been
proven by ‘clear and convincing evidence[.]’” Uyeda v. Schermer, 144 Hawai‘i
163, 175, 439 P.3d 115, 127 (2019) (emphasis added); see also HRS § 604-10.5(a)
(defining “harassment”); ECF 1-3 (HPD letter stating that Kahalewai was “the
respondent to an injunction against harassment issued by a judge . . . for the same
woman you are suspected of sexually assaulting.”).
4
  In general, an order of protection involves a family or household member (or
romantic relationship), whereas an injunction against harassment does not. See
also HRS § 586-5.5 (authorizing the court to issue an order of protection if “the
court finds that the respondent has failed to show cause why the order should not
be continued and that a protective order is necessary to prevent domestic abuse or a
recurrence of abuse”).

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court-issued restraining order (which prohibited him from possessing firearms

except in connection with his military service). ECF 1-3; Gluck Decl., Exs. 7, 8.

Accordingly, HPD denied Kahalewai’s application because he did not meet the

requirements of HRS § 134-9 (the statute governing Licenses to Carry) or HPD’s

Rules. ECF 1-3.

III.   STANDARD OF REVIEW

       Kahalewai contends that “[t]his Court should enter a preliminary injunction

which orders County to issue Plaintiff a concealed carry license[.]” ECF 2-1 at 31.

Kahalewai seeks a mandatory injunction, which is “particularly disfavored”:

             Plaintiffs seek to alter the status quo ante . . . .
             Accordingly, they seek a mandatory injunction.
             Mandatory injunctions are particularly disfavored. In
             general, mandatory injunctions are not granted unless
             extreme or very serious damage will result and are not
             issued in doubtful cases[.]

Am. Freedom Def. Initiative v. King Cnty., 796 F.3d 1165, 1173 (9th Cir. 2015)

(cleaned up). Plaintiff generally sets forth the correct standard for a prohibitory

injunction. See ECF 2-1 at PDF 9. However, “[i]njunctive relief is ‘an

extraordinary remedy that may only be awarded upon a clear showing that the

plaintiff is entitled to such relief’; it is ‘never awarded as of right.’” Carmichael v.

Ige, 470 F. Supp. 3d 1133, 1140 (D. Haw. 2020) (quoting Winter v. NRDC, Inc.,

555 U.S. 7, 22, 24 (2008)). Courts “should be particularly mindful, in exercising

their sound discretion, of the ‘public consequences in employing the extraordinary


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remedy of injunction.’” Carmichael, 470 F. Supp. 3d at 1140 (quoting Winter, 555

U.S. at 24).

IV.   DISCUSSION

      A.       Kahalewai already released these claims.

      The Stipulated Judgment in Nelson is an enforceable settlement agreement.

See United States v. ITT Cont’l Baking Co., 420 U.S. 223, 238 (1975) (“[A]

consent decree or order is to be construed for enforcement purposes basically as a

contract[.]”); Cal. State Auto. Ass’n Inter-Ins. Bureau v. Superior Court, 50 Cal. 3d

658, 663, 268 Cal. Rptr. 284, 286, 788 P.2d 1156, 1158 (1990) (“In a stipulated

judgment, or consent decree, litigants voluntarily terminate a lawsuit by assenting

to specified terms, which the court agrees to enforce as a judgment.”). Further,

“enforceability of these compromise agreements is favored in the law.” Jeff D. v.

Andrus, 899 F.2d 753, 759 (9th Cir. 1989).

      “The interpretation of a settlement agreement is governed by principles of

state contract law. This is so even where a federal cause of action is ‘settled’ or

‘released.’” Botefur v. City of Eagle Point, 7 F.3d 152, 156 (9th Cir. 1993)

(cleaned up). Hawai‘i state contract law provides that “[c]ontract terms are

interpreted according to their plain, ordinary, and accepted sense in common

speech.” Hawaiian Ass’n of Seventh-Day Adventists v. Wong, 130 Hawai‘i 36, 45,

305 P.3d 452, 461 (2013). “[W]hen the terms of a contract are definite and



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unambiguous there is no room for interpretation.” Wong v. Cayetano, 111 Hawai‘i

462, 481, 143 P.3d 1, 20 (2006) (cleaned up).

      The Nelson Plaintiffs – including Kahalewai – voluntarily terminated their

lawsuit by assenting to specified terms: they assented to a release provision, which

was a material term that the City obtained in exchange for consenting to its own

obligations. See Abbott Lab’ys. v. Alpha Therapeutic Corp., 164 F.3d 385, 388

(7th Cir. 1999) (release provisions “are inherently material”); Inamed Corp. v.

Kuzmak, 275 F. Supp. 2d 1100, 1125 (C.D. Cal. 2002) (“There is no doubt that

release provisions are generally thought to be material terms of any settlement

agreement.”). See also Local No. 93, Int’l Ass’n of Firefighters, etc. v. Cleveland,

478 U.S. 501, 522 (1986) (“Consent decrees are entered into by parties to a case

after careful negotiation . . . . [I]n exchange for the saving of cost and elimination

of risk, the parties each give up something they might have won[.]” (cleaned up)).

Kahalewai agreed to the Nelson Stipulation of his own volition, and the plain

language of the Stipulation makes clear his intent to release his claims.

      The release in the Nelson Stipulation plainly encompasses and bars the

Kahalewai Complaint: it is “unconditional” in its release of all claims that “were

brought or could have been brought arising from or associated with the facts

alleged in the instant Lawsuit and the laws, rules, or regulations in effect at the

time of the execution of this Stipulated Judgment.” Nelson Stip. at 9. The claims



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in the instant lawsuit were already brought in the first lawsuit: in both cases,

Kahalewai alleges that he applied for a License in May and September 2023 and

that HPD has violated his rights in not authorizing him to carry a firearm in public.

These are the same claims, arising from and associated with the same facts,

involving the same parties, and under the same laws, rules, and regulations which

were in effect at the time the Stipulated Judgment was executed. The release bars

the present lawsuit.

      Additionally, the plain language of the release in the Nelson Stipulation is

unambiguously broader than just those claims already raised; it also covers claims

that could have been brought on the same set of facts. Nelson Stip. at 9. See Wong

v. Cayetano, 111 Hawai‘i at 481, 143 P.3d at 20 (“Here, we are left with no room

for interpretation because the language of the Settlement Agreement is

unambiguously sweeping and broad.”). Any claims Kahalewai raises here arise out

of and/or are associated with the same facts, and could have been raised in Nelson.

Those claims are now barred.

      Kahalewai cannot succeed on the merits, and his motion should be denied.


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      B.     Even if this Court addresses Kahalewai’s substantive claims, he
             has failed to carry his burden to obtain injunctive relief.

             1.     Kahalewai is not likely to succeed on the merits.

                    a.     Kahalewai’s Second Amendment claim fails.

      New York State Rifle & Pistol Association v. Bruen, 597 U.S. 1 (2022), did

not proclaim that all applicants – no matter their history of antisocial or violent

conduct – were entitled to carry concealed weapons in public. Instead, Bruen

instructed that licensing requirements that include a subjective evaluation of need,

analogous to the New York “proper cause” standard, are unconstitutional. Bruen

kept fully intact licensing systems that “are designed to ensure only that those

bearing arms in the jurisdiction are, in fact, ‘law-abiding, responsible citizens’ and

“contain only ‘narrow, objective, and definite standards’ guiding licensing

officials.”5 Id. at 38 n.9; see also id. at 80 (Kavanaugh, J., concurring) (“[S]hall-

issue regimes may require a license applicant to undergo fingerprinting, a

background check, a mental health records check, and training in firearms handling

and in laws regarding the use of force, among other possible requirements”).




5
  Specifically, the Court explained that “[g]oing forward, therefore, the 43 States
that employ objective shall-issue licensing regimes for carrying handguns for self-
defense may continue to do so. Likewise, . . . [other States] may continue to
require licenses for carrying handguns for self-defense so long as those States
employ objective licensing requirements like those used by the 43 shall-issue
States.” Bruen, 597 U.S. at 80 (Kavanaugh, J., concurring).

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        The Supreme Court specifically cited – and approved – a licensing scheme

similar to the City’s current process. The Court held that Connecticut’s permitting

scheme was not implicated by the Court’s holding because “[a]lthough Connecticut

officials have discretion to deny a concealed-carry permit to anyone who is not a

suitable person, the ‘suitable person’ standard precludes permits only to those

individuals whose conduct has shown them to be lacking the essential character of

temperament necessary to be entrusted with a weapon.” Bruen, 597 U.S. at 13, n.1

(citations omitted). Indeed, just two months before the Bruen Court counted

Connecticut as among the acceptable 43 “shall issue” regimes, the Connecticut

Supreme Court explained that suitability “depends on facts and circumstances that

may be indicated but cannot be fully defined by law, whose probative force will

differ in different cases, and must in each case depend largely on the sound

judgment of the selecting tribunal.” Stratford Police Dep’t v. Bd. of Firearms

Permit Exam’rs, 343 Conn. 62, 82, 272 A.3d 639, 652 (2022) (cleaned up).

        Following Bruen, the State Legislature changed the standards for issuing

concealed carry licenses.6 See HRS § 134-9 (amended 2023). So did HPD: HPD

promulgated administrative rules in 2022, see ECF 1-1, then amended those rules

in 2024 (after the State Legislature amended the underlying statutes), see ECF 1-2.




6
    See Lau Decl. ¶ 4.

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      The 2024 HPD Rules require that the Chief of Police “consider the totality

of the circumstances” – including six enumerated objective factors. 2024 Rules

§ 21-15-19(f), (f)(1), (f)(4), (f)(5) (ECF 1-2 PDF 15-16). The 2022 Rules

contained similar objective factors. 2024 Rules § 15-23 (ECF 1-1 PDF 15-16).

These individualized determinations are constitutional and specifically endorsed by

Bruen. Indeed, the Court specifically cited Connecticut’s licensing scheme –

which includes a “suitable person” requirement – with approval. See Bruen, 597

U.S. at 13 n.1 (the “standard precludes permits only to those individuals whose

conduct has shown them to be lacking the essential character of temperament

necessary to be entrusted with a weapon.” (citations omitted)). The Court

explicitly held that “nothing in our analysis should be interpreted to suggest the

unconstitutionality of the 43 States’ shall-issue licensing regimes. . . . [T]hey do

not necessarily prevent law-abiding, responsible citizens from exercising their

Second Amendment right to public carry.” Id. at 39 n.9 (cleaned up).

      That is precisely what HPD’s rules do. Since Bruen, HPD has issued over

1,973 LTCs. Lau Decl., ¶4. Kahalewai’s application was among the first to be

denied by HPD. Lau Decl., ¶10. HPD’s Rules function precisely as designed:

they have provided objective criteria to grant thousands of applications while

precluding Kahalewai, “whose conduct has shown [him] to be lacking the essential

character of temperament necessary to be entrusted,” Bruen, 597 U.S. at 13 n.1,



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from carrying a concealed deadly weapon in public. Kahalewai is a textbook

example of someone who is not a “suitable person” to be issued a License: he has

had two lengthy restraining orders issued against him, relatively recently, by two

state court judges. Gluck Decl., Ex. 7, 8. HPD correctly applied its objective

criteria and denied Kahalewai’s application. ECF 1-3.

      The recent ruling in United States v. Rahimi, 144 S. Ct. 1889 (2024),

supports HPD’s decision. As explained in Plaintiff’s own brief, “Rahimi’s core

holding is ‘[a]n individual found by a court to pose a credible threat to the physical

safety of another may be temporarily disarmed consistent with the Second

Amendment.’” ECF 2-1 at 10 (quoting Rahimi, 144 S. Ct. at 1903). Nothing more

need be said. Kahalewai was deemed sufficiently dangerous by two state court

judges to warrant long-term protective orders against him. Gluck Decl., Exs. 7-8;

HRS §§ 586-5.5, 604-10.5.

      History and Tradition: Plaintiff claims there is no historical tradition of

disarming individuals like himself. Plaintiff is mistaken, and Rahimi said so. In

Rahimi, the Court upheld a federal law that prohibits individuals subject to a

domestic violence restraining order from possessing a firearm. In reaching that

conclusion, the Court clarified Bruen’s methodology and instructed that “the

appropriate analysis involves considering whether the challenged regulation is

consistent with the principles that underpin our regulatory tradition.” Rahimi, 144



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S. Ct. at 1898 (emphasis added). Central to this inquiry is the “why and how” the

regulation burdens the Second Amendment right. Id. Notably, the Court held that

“[t]he law must comport with the principles underlying the Second Amendment,

but it need not be a dead ringer or a historical twin.” Id. (internal quotation marks

omitted).

       “Since the founding, our Nation’s firearm laws have included provisions

preventing individuals who threaten physical harm to others from misusing

firearms.” Id. at 1896. Looking to historical surety and “going armed” laws, the

Court held that “the Government offer[ed] ample evidence that the Second

Amendment permits the disarmament of individuals who pose a credible threat to

the physical safety of others.” Id. at 1898. Specifically, the Court explained that

surety laws targeted the misuse of firearms, id., and that “going armed” laws

“provided a mechanism for punishing those who had menaced others with

firearms” with the “forfeiture of the arms.” Id. at 1900-01. Rahimi supports

HPD’s decision here.

       Similarly, the Ninth Circuit’s pre-Rahimi decision in United States v. Perez-

Garcia, 96 F.4th 1166 (9th Cir. 2024) – also relied upon by Kahalewai – supports

HPD’s position. The Court reviewed the “lengthy and extensive” history and

tradition of:

                disarming individuals who are not law-abiding,
                responsible citizens. In particular, the historical record

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             reflects that legislatures have long disarmed groups or
             individuals whose possession of firearms would pose an
             unusual danger, beyond the ordinary citizen, to
             themselves or others.

Id. at 1186-87. HPD has good reason to believe that an individual with multiple

recent restraining orders would be a danger if allowed to carry a firearm outside

the home: “More than half of mass shootings between 2014-2019 were domestic

violence-related and in more than two-thirds of mass shootings the perpetrator

either killed at least one partner or family member or had a history of domestic

violence.” BWJP, “Research at the Intersection of Intimate Partner Violence and

Firearms” (2024).7 The City relies upon the historical record, as recited in Rahimi,

Bruen, and Perez-Garcia, to support its history and tradition of these regulations

that allow the government to disarm dangerous individuals.8

      Kahalewai attempts to distinguish Rahimi by arguing that, unlike 18 U.S.C.

§ 922(g)(8) (the statute at issue in Rahimi), the denial of his License application

was based on lapsed restraining orders. This distinction is groundless. The Court

upheld Section 922(g)(8) because it “fit[] comfortably” within the tradition of

disarming individuals “who threaten physical harm to others from misusing


7
 Available at https://bwjp.org/wp-content/uploads/2024/06/Research-at-the-
Intersection-of-Intimate-Partner-Violence-and-Firearms.pdf.
8
 The City also disputes Kahalewai’s assertion that the proper date for analysis is
1791, rather than 1868, given that neither the Supreme Court nor the Ninth Circuit
has decided this question.

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firearms.” Id. at 1896-97. Kahalewai reads a temporal element into the Court’s

opinion that does not exist; nothing in Rahimi depended on the in-force nature of

the restraining orders against him. Rather, the question was whether persons who

“threaten physical harm” may be disarmed. In the instant case, a Hawai‘i state

judge ruled that “a protective order [was] necessary to prevent domestic abuse or a

recurrence of abuse.” Gluck Decl., Ex. 8 (formatting altered).

      Further, HPD’s Rules do not permanently ban Kahalewai from carrying

firearms in public. The Rules of the Chief contain a 10-year lookback for certain

items, with the express instruction that the Chief shall “giv[e] more weight to

incidents that are serious or recent, and less weight to incidents that are minor or

occurred in the distant past.” 2024 Rules, § 21-15-19(f). And unlike § 922(g)(8)

(which prohibits possession of any firearms), HPD has not prevented Kahalewai

from possessing firearms. He was only denied the ability to carry his firearms,

concealed, in public. See 2024 Rules, § 21-15-15(c)(3) (containing a three-year

lookback for issuing Permits to Acquire firearms, rather than a ten-year lookback

for Licenses to Carry).

      Two state court judges previously determined that Kahalewai posed a

credible threat to others’ safety. HPD, as permitted by Bruen and Rahimi,

considered these objective factors and ultimately found that allowing him to carry




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a firearm in public would present a danger to the community. This determination

was lawful.

                    b.    Plaintiff’s due process claim is baseless.

      Even if Kahalewai were entitled to some process, the City provided the

process that was due. There is a clear administrative process set forth in both the

2022 and 2024 Rules. See 2024 Rules, § 21-15-28; 2022 Rules, § 15-28.

      “Due process protections extend only to deprivations of protected interests.”

Shinault v. Hawks, 776 F.3d 1027, 1030 (9th Cir. 2015). Once a protected interest

has been determined, courts apply the three-part balancing test from Mathews v.

Eldridge, 424 U.S. 319 (1976) “to determine whether a pre-deprivation hearing is

required and what specific procedures must be employed.” Shinault, 776 F.3d at

1030. Specifically, courts consider: “First, the private interest that will be affected

by the official action; second, the risk of an erroneous deprivation of such interest

through the procedures used, and the probable value, if any, of additional or

substitute procedural safeguards; and finally, the Government’s interest. . . .”

Mathews, 424 U.S. at 335. Here, evaluation of the Mathews factors indicate that a

pre-denial hearing is not required and that Kahalewai has failed to sufficiently

allege a due process violation.




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         Even if Kahalewai has a cognizable private interest,9 the remaining two

factors weigh heavily in the City’s favor.

         As to the second factor, the risk of erroneous deprivation is low. Indeed, it

is unclear what additional “procedural safeguards” Kahalewai even wants here:

because Kahalewai did not have a License in the first place, there is no meaningful

distinction between a “pre-deprivation” and “post-deprivation” process. No matter

what Kahalewai calls it, once HPD determined that he was not entitled to a

License, he was given notice and an opportunity to be heard. Perhaps Kahalewai

wants the City to issue a License and then immediately have a hearing to take it

away, but this is nonsensical.

         Additionally, Bruen explicitly endorses permitting schemes that utilize

discretionary factors, including ones that incorporate a “suitable person” standard.

See Bruen, 597 U.S. at 13 n.1 (citations omitted). Rahimi made clear that an

individual found to pose a threat to the physical safety of others may be disarmed.

Rahimi, 144 S. Ct. at 1896. HPD conducts a thorough background check and

applies objective factors to determine whether an applicant should be denied – and

HPD has granted over 1,973 applications so far, Lau Decl., ¶4. Again, the risk of

erroneous deprivation is low.




9
    He does not, because he does not meet the statutory criteria for a License.

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      As to the third factor, the City has a significant public safety interest in

prohibiting dangerous individuals from carrying firearms in public.

      Kahalewai was notified of the denial, and he was given an opportunity for a

prompt hearing. This satisfies due process. See Morrissey v. Brewer, 408 U.S.

471, 481 (1972) (“It has been said so often by this Court and others as not to

require citation of authority that due process is flexible and calls for such

procedural protections as the particular situation demands.”).

                    c.     Monell bars claims for any undefined “custom.”

      The City may be held liable for constitutional injuries caused by its

employees only if the employees act pursuant to a City policy or custom. See

Monell v. Dep’t of Social Servs., 436 U.S. 658, 690-91 (1978). Kahalewai points to

the City’s administrative rules, but he already challenged those rules – both facially

and as applied – in Nelson. He cannot challenge them again here.

      In this case, it is unclear whether Kahalewai challenges any other supposed

custom or policy. To the extent it does, such a claim would fail: under a de facto

policy or custom theory of liability, there must be a “longstanding practice or

custom which constitutes the standard operating procedure of the local government

entity.” Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996) (citation and internal

quotation signals omitted). “The custom must be so ‘persistent and widespread’

that it constitutes a ‘permanent and well settled city policy.’” Id. (quoting Monell,


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436 U.S. at 691). Further, the Ninth Circuit has repeatedly held that a plaintiff who

alleges only one or two instances of an alleged constitutional violation cannot

sustain a Monell claim based on policy or custom. See Meehan v. Cnty. of Los

Angeles, 856 F.2d 102, 107 (9th Cir. 1988); Trevino, 99 F.3d at 918 (citing

Meehan). See also L.A. Cnty. v. Humphries, 562 U.S. 29, 34 (2010) (“We conclude

that Monell’s holding applies to § 1983 claims against municipalities for

prospective relief as well as to claims for damages.”).

      Kahalewai’s Complaint fails to meet the high burden of a Monell claim. He

appears to take issue with some nebulous and unidentified policy, but if he is

challenging anything other than the Rules themselves (which he can’t do because

of the Nelson Stipulation), he has failed to identify what specific policy or custom

is being challenged – let alone explain how such policy or custom amounted to

deliberate indifference.10 To the extent Kahalewai relies on some “custom” other

than the City’s Rules, that claim fails.

             2.     Kahalewai will not suffer irreparable harm.

      Kahalewai has not established that he will suffer irreparable harm absent an

injunction. To prevail on this factor, “plaintiffs must establish that irreparable



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  He also fails to allege how the rules themselves and/or HPD’s actions are
deliberately indifferent or the moving force behind his alleged injuries, and his
lawsuit also fails on these bases as well.

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harm is likely, not just possible.” All. For The Wild Rockies v. Cottrell, 632 F.3d

1127, 1131 (9th Cir. 2011). Kahalewai’s claims miss the mark. He states only that

he “will suffer irreparable harm because he will not be able to exercise his

constitutional right to carry a firearm unless a preliminary injunction is granted.”

ECF 2-1 at 21. Kahalewai is wrong, because he assumes a boundless Second

Amendment right. The Supreme Court has been clear that “[l]ike most rights, the

right secured by the Second Amendment is not unlimited.” District of Columbia v.

Heller, 554 U.S. 570, 626 (2008); see also Bruen, 597 U.S. at 80 (“[T]he Second

Amendment allows a variety of gun regulations[.]”); Rahimi, 144 S. Ct. at 1897

(“we recognized that the [Second Amendment] right was never thought to sweep

indiscriminately.”). Since the nation’s founding, the right to bear arms has been

subjected to rules and regulations. See id. A lawful restriction of one Second

Amendment right does not constitute irreparable harm.

      Kahalewai’s application was properly denied based on his past court-issued

restraining orders. Per the HPD Rules, he never was entitled to a License and thus

has suffered no harm.

             3.     The public interest and balance of equities weigh in the
                    City’s favor.

      When the government is a party to the lawsuit, courts consider the balance

of equities and public interest together. See Envt’l Prot. Info. Ctr. v. Carlson, 968



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F.3d 985, 991 (9th Cir. 2020). “The balance of equities concerns the burdens or

hardships to [Plaintiffs] compared with the burden on Defendants . . . . The public

interest mostly concerns the injunction’s impact on non-parties rather than parties.”

Porretti v. Dzurenda, 11 F.4th 1037, 1050 (9th Cir. 2021) (citations omitted). Here,

both elements favor not issuing an injunction. Any “harm” to Kahalewai is of his

own creation and is within constitutional bounds. And, to the extent any harm is

cognizable at all, it pales in comparison to the public interest in maintaining public

safety by ensuring that dangerous individuals are not permitted to carry concealed

weapons. Public interest is served by ensuring that all applicants comply with

Hawai‘i law and HPD’s licensing system.

      C.     Consolidation pursuant to Rule 65(a)(2) is not warranted.

      While the City recognizes the importance of efficiency, consolidation is

premature and will not result in the preservation of judicial resources. Although

Kahalewai dresses the Complaint up as presenting pure questions of constitutional

law, there are factual issues in dispute11 that must first be reconciled through

discovery. For example, the timeline and exact nature of Kahalewai’s prior

restraining orders is highly relevant to each of Plaintiff’s claims. See Yamada v.



11
  There are no factual issues in dispute with respect to the release of claims in the
previous lawsuit, however, and the City is entitled to summary judgment on that
basis.

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Weaver, 2012 WL 6019121, at *6 (D. Haw. Nov. 30, 2012) (recognizing that the

presence of “factual issues and a need for discovery” as reasons to deny a motion

to consolidate) (vacated and remanded on other grounds in Yamada v. Snipes, 604

Fed. App’x 579 (9th Cir. 2015) (mem. op.)). A trial on the merits is not warranted

in this case at this time, and would be prejudicial to the City given the timing of

Plaintiff’s filings and the hearing. The City respectfully requests that the Court

decline to consolidate.

V.    CONCLUSION

      Kahalewai’s motion for preliminary injunction should be denied.

      DATED: Honolulu, Hawai‘i, August 19, 2024.

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VI.   CERTIFICATE OF WORD COUNT

      Pursuant to L.R. 7.4, I certify that this brief contains 6,218 words, calculated

using Microsoft Word’s word count, and therefore complies with Local Rule

7.4(b). This includes headings, footnotes, and quotations, and excludes the case

caption, table of contents, table of authorities, exhibits, declarations, certificate of

counsel, and certificate of service.

      DATED: Honolulu, Hawai‘i, August 19, 2024.

                                         By: /s/ Daniel M. Gluck
                                             DANIEL M. GLUCK
                                             Deputy Corporation Counsel




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